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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                               SPARTANBURG DIVISION


Barbara Satterfield and Rick Satterfield      )
                                              )        Civil Action No. 7:11-1514-MGL
Plaintiffs,                                   )
                                              )
vs.                                           )
                                              )
                                              )
Napa Home & Garden, Inc., Fuel Barons,
                                              )
Inc., Losorea Packaging Inc., and The         )
Fresh Market, Inc.                            )
                                              )
                                              )
Defendants.
                                              )

                   NOTICE OF PLATINFFS’ EXPERT DISCLOSURES

        Plaintiffs, by their undersigned Counsel of Record and pursuant to the Court’s Seventh
Amended Scheduling Order, hereby file Notice that they have this day served, via electronic
mail, their expert witness disclosures along with complete copies of the experts’ reports and
accompanying materials to all Counsel of Record.

        Respectfully submitted this 30th day of December, 2013,

                                                   MOTLEY RICE LLC

                                               By: /s/ T. David Hoyle_____
                                                   Anne McGinness Kearse
                                                   Federal Bar No.: 7570
                                                   Kevin R. Dean
                                                   Federal Bar No.: 8046
                                                   T. David Hoyle
                                                   Federal Bar No.: 9928


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                                             ATTORNEYS FOR PLAINTIFFS




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                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION


Barbara Satterfield and Rick Satterfield         )
                                                 )         Civil Action No. 7:11-1514-MGL
Plaintiffs,                                      )
                                                 )
vs.                                              )          PLAINTIFFS’ RULE 26(a)(2)
                                                 )            EXPERT DISCLOSURE
                                                 )
Napa Home & Garden, Inc., Fuel Barons,
                                                 )
Inc., Losorea Packaging Inc., and The            )
Fresh Market, Inc.                               )
                                                 )
                                                 )
Defendants.
                                                 )

        NOW COME Plaintiffs, by and through their undersigned Counsel of Record, and

pursuant to Fed. R. Civ. P. 26(a)(2) serve this Expert Disclosure. This Disclosure shall be

deemed a supplemental discovery response and shall satisfy the requirements of the Seventh

Amended Scheduling Order entered by the Court and the Federal Rules of Civil Procedure.

Preliminary Statement and Reservation

        While this action has been pending since June 2011, discovery has been slowed by the

voluntary bankruptcy petitions of two of the originally named defendants as well as the efforts of

Defendant The Fresh Market, Inc. to add numerous third-party defendants. As such, as of this

date, the only depositions that have taken place are the Rule 30(b)(6) depositions of Fuel Barons,

Inc. Stated differently, as of this date, the Plaintiffs have not been deposed; the persons present

at the time of this incident have not been deposed; and the employees, agents, and officers of The

Fresh Market, Inc. who have information relevant to this action have not been deposed. This

Disclosure is being served, along with the accompanying reports and materials, with discovery

still in its early stages. As such, Plaintiffs reserve the right to supplement this Expert Disclosure


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and serve supplemental expert reports as permitted by Federal Rule of Civil Procedure 26(a)(2)

and Federal Rule of Civil Procedure 26(c). Plaintiffs further reserve the right to elicit expert

testimony, where necessary, from any expert(s) called by the Defendant The Fresh Market, Inc.

in this action, any expert(s) called by the Third-Party Defendants in this action, or any rebuttal

experts.

Defendant The Fresh Market, Inc. is hereby placed on notice that Plaintiffs may call the

following individuals at the trial of this action and elicit testimony pursuant to Rules 702,

703, and 705 of the Federal Rules of Evidence.

1.     GLEN STEVICK, Ph.D., P.E.
       Berkeley Engineering and Research, Inc.
       808 Gilman Street
       Berkeley, CA 94710
       (510) 549-3300x2

The substance of Dr. Stevick’s opinions, the basis and reasons thereof, the data and other
information considered in forming the opinions, exhibits to be used as a summary of or support
for the opinions, and citations of any treatise, text or other authority relied upon are set forth in a
report served on all parties contemporaneous with this notice as Exhibit 1. Dr. Stevick’s current
Curriculum Vitae is being served on all parties contemporaneous with this notice as Exhibit 1A.
Dr. Stevick’s list of testimony is being served on all parties contemporaneous with this notice as
Exhibit 1B. Dr. Stevick’s fees for professional services are being served on all parties
contemporaneous with this notice as Exhibit 1C.

2.     STUART M. STATLER
       494 Bay Harbour Road
       Mooresville, NC 28117
       (704) 360-2100

The substance of Mr. Statler’s opinions, the basis and reasons thereof, the data and other
information considered in forming the opinions, exhibits to be used as a summary of or support
for the opinions, and citations of any treatise, text or other authority relied upon are set forth in a
report served on all parties contemporaneous with this notice as Exhibit 2. Mr. Statler’s current
Curriculum Vitae is being served on all parties contemporaneous with this notice as Exhibit 2A.
Mr. Statler’s list of testimony is being served on all parties contemporaneous with this notice as
Exhibit 2B. Mr. Statler’s fees for professional services are being served on all parties
contemporaneous with this notice as Exhibit 2C.




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3.     BRYAN R. DURIG, Ph.D., P.E.
       Summit Engineering L.L.P.
       146 Leisure Lane
       Columbia, SC 29210
       (803) 731-1200

The substance of Dr. Durig’s opinions, the basis and reasons thereof, the data and other
information considered in forming the opinions, exhibits to be used as a summary of or support
for the opinions, and citations of any treatise, text or other authority relied upon are set forth in a
report served on all parties contemporaneous with this notice as Exhibit 3. Dr. Durig’s current
Curriculum Vitae is being served on all parties contemporaneous with this notice as Exhibit 3A.
Dr. Durig’s list of testimony is being served on all parties contemporaneous with this notice as
Exhibit 3B. Dr. Durig’s fees for professional services are contained within his report.

4.     DONALD J. HOFFMANN, Ph.D., P.E., CFI – IAAI
       Safety Engineering Laboratories, Inc.
       27803 College Park Dr.
       Warren, MI 48088
       (586) 771-0660

The substance of Dr. Hoffman’s opinions, the basis and reasons thereof, the data and other
information considered in forming the opinions, exhibits to be used as a summary of or support
for the opinions, and citations of any treatise, text or other authority relied upon are set forth in a
report served on all parties contemporaneous with this notice as Exhibit 4. Dr. Hoffman’s
current Curriculum Vitae, list of testimony, and fees for professional services are contained
therein.

5.     SHELENE J. GILES, MS, BSN, BA, RN, CRC, CNLCP, CLCP, MSCC, LNCC
       FIG Services, Inc.
       P.O. Box 1161
       Hendersonville, NC 28793
       (828) 698-9486

The substance of Ms. Giles’ opinions, the basis and reasons thereof, the data and other
information considered in forming the opinions, exhibits to be used as a summary of or support
for the opinions, and citations of any treatise, text or other authority relied upon are set forth in a
report served on all parties contemporaneous with this notice as Exhibit 5. Ms. Giles’ current
Curriculum Vitae is being served on all parties contemporaneous with this notice as Exhibit 5A.
Ms. Giles’ list of testimony is being served on all parties contemporaneous with this notice as
Exhibit 5B. Ms. Giles’ fees for professional services are being served on all parties
contemporaneous with this notice as Exhibit 5C.


6.     B. PERRY WOODSIDE, III, Ph.D.
       Dixon Hughes Goodman, LLP
       Post Office Box 973


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       Charleston, SC 29402
       (843) 722-6443

The substance of Dr. Woodside’s opinions, the basis and reasons thereof, the data and other
information considered in forming the opinions, exhibits to be used as a summary of or support
for the opinions, and citations of any treatise, text or other authority relied upon are set forth in a
report served on all parties contemporaneous with this notice as Exhibit 6. Dr. Woodside’s
current Curriculum Vitae, list of testimony, and fees for professional services are contained
therein.


7.     ALAN R. DIMICK, M. D., FACS
       American Burn Consultants, Inc.
       2717 Lockerbie Circle
       Birmingham, AL 35223-2911
       (205) 969-3106

The substance of Dr. Dimick’s opinions, the basis and reasons thereof, the data and other
information considered in forming the opinions, exhibits to be used as a summary of or support
for the opinions, and citations of any treatise, text or other authority relied upon are set forth in a
report served on all parties contemporaneous with this notice as Exhibit 7. Dr. Dimick’s current
Curriculum Vitae is being served on all parties contemporaneous with this notice as Exhibit 7A.
Dr. Dimick’s list of testimony is being served on all parties contemporaneous with this notice as
Exhibit 7B. Dr. Dimick’s fees for professional services are being served on all parties
contemporaneous with this notice as Exhibit 7C.

8.     FRED MULLINS, M.D., FACS
       Joseph M. Still Burn Center
       3675 J. Dewey Gray Circle, Suite 300
       Augusta, GA 30909
       (706) 863-9595

Purusant to Fed. R. Civ. P. 26(a)(2)(C), a report from Dr. Mullins is not required.

Since July 2004, Dr. Mullins has been the Medical Director of the Joseph M. Still Burn Center, a
burn center verified by the American Burn Association (ABA) and the American College of
Surgeons (ACS). Located in Augusta, Georgia, the Still Burn Center is the largest burn unit in
the country. A team of physicians and other specialists provide for the overall needs of the
patient, not just the burn wounds. The 70-bed unit is usually full, with helicopters flying patients
in from throughout the Southeastern United States. The Still Burn Center admits more than
3,000 patients annually and is nationally recognized as a leader in burn research and treatment.

A burn surgeon by training, Dr. Mullins earned his M.D. from the Medical College of Georgia
School of Medicine and his Bachelor of Science from the Medical College of Georgia.

Dr. Mullins was and is a treating physician for Barbara Satterfield.


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Dr. Mullins is expected to present general testimony concerning the following subject matter(s):

     a.   Acute burn care management;
     b.   Characteristics of burn injury;
     c.   Epidemiological, demographic, and outcome characteristics of burn injury;
     d.   The prevention of burn injuries;
     e.   Diagnosis and Treatment of Burn Injury;
     f.   Pathophysiology of Burn Shock and Burn Edema;
     g.   Critical Care in the Severely Burned;
     h.   Surgical Management of Complications of Burn Injury;
     i.   Pathophysiology of the Burn Scar;
     j.   Comprehensive Rehabilitation of the Burn Patient;
     k.   Reconstruction of Burn Deformities;
     l.   Management of Pain and Other Discomforts in Burned Patients; and
     m.   Psychosocial Recovery of Patients with Burn Injuries.

The facts relied upon by Dr. Mullins’ in forming his opinions concerning Mrs. Satterfield are set
forth in the medical records from the Joseph M. Still Burn Center. Some of Dr. Mullins’
opinions concerning Mrs. Satterfield are also set forth in the medical records from the Joseph M.
Still Burn Center as well as through medical-legal consultation(s) with Ms. Shelene J. Giles
which are contained in her report served herewith.

Dr. Mullins is expected to specifically testify concerning his treatment of Mrs. Satterfield as well
as his review of Mrs. Satterfield’s medical records and the conclusions reached therefrom; the
burn injuries sustained by Mrs. Satterfield; his recommended future treatment for Mrs.
Satterfield; and the subject matters enumerated in a-m above.

Dr. Mullins is further expected to testify that Mrs. Satterfield’s future care needs are set forth to a
reasonable degree of medical certainty on the Nurse Life Care Plan tables dated 12/21/13 and
contained in the report of Ms. Shelene J. Giles.

Dr. Mullins will rely on his education, experience, training, and background to offer this
testimony.    Dr. Mullins’ current Curriculum Vitae is being served on all parties
contemporaneous with this notice as Exhibit 8. Dr. Mullins will rely on the following treatise
and journals in support of his opinions: David N. Herndon M.D. FACS, TOTAL BURN CARE;
Journal of Burn Care and Rehabilitation; and Journal of the International Society for Burn
Injuries.

9.        Plaintiffs reserve the right to elicit expert testimony concerning the subject product
          from any and all current or former employees of the Consumer Product Safety
          Commission, including but not limited to J. DeWane Ray, Rohit Khanna, Andrew
          Kameros, Marc Schoem, Blake Rose, Joseph Williams, Kathleen Stralka, Stephen
          Hanway, David Miller, Mary Ann Danello, Lori E. Saltzman, Sandra E. Inkster,
          Andrew Stadnik, Edward Krawiec, Jonathan Kent, Andrew G. Stadnik, Joel Recht,
          Matthew Roemer, George A. Borlase, Patricia K. Adair, Scott Ayers, George A.


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        Borlase, Robert B. Ochsman, Rana Balci-Sinha, Gregory R. Rodgers, Deborah V.
        Aiken, and Charles L. Smith, located at 4330 East West Highway Bethesda, MD
        20814 (telephone: (301) 504-7923) and the National Institute of Standards and
        Technology, including but not limited to Nathan D. Marsh, located at 100 Bureau
        Drive, Stop 8665 Gaithersburg, MD 20899-8665 (telephone (301) 975-5441) .

Pursuant to Fed. R. Civ. P. 26(a)(2)(C), a report from these individuals is not required but
Defendant The Fresh Market, Inc. is directed to public reports entitled Consumer Product Safety
Commission, Staff Briefing Package on Firepots and Gel Fuel, p. 29 (December 7, 2011), served
on all parties contemporaneous with this notice as Exhibit 9, and Nathan D. Marsh, Evaluation of
Firepots and Gel Fuels, p. 2 (NIST Technical Note 1791) (March 2013), served on all parties
contemporaneous with this notice as Exhibit 10, which contain the opinions and basis thereof
from the foregoing individuals. If any testimony is so elicited at the trial of this action, it is
expected that these individuals will rely on their education, experience, training, and background.
The Plaintiffs are not in possession of any Curriculum Vitas for the foregoing individuals but
reserve the right to supplement this disclosure upon receipt of the same. Plaintiffs expressly
reserve their rights to introduce these public reports, pursuant to Fed. R. Evid. 803 and 902
as well as all other applicable statutes and rules, at the trial of this action regardless of
whether any of the above-named individuals offer testimony.

10.     Plaintiffs reserve the right to amend, modify or supplement this Expert Disclosure.

Respectfully submitted this 30th day of December, 2013,

                                                     MOTLEY RICE LLC

                                                 By: /s/ T. David Hoyle_____
                                                     Anne McGinness Kearse
                                                     Federal Bar No.: 7570
                                                     Kevin R. Dean
                                                     Federal Bar No.: 8046
                                                     T. David Hoyle
                                                     Federal Bar No.: 9928

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                                                     WILDMAN LLP
                                                     W. Doug Smith


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                               CERTIFICATE OF SERVICE

The above-signed attorney hereby certifies that on December 30, 2013, I electronically filed the
foregoing Notice Of Plaintiffs’ Expert Disclosures using the CM/ECF system which will send
notification of such filing to all parties.

Copies of the disclosures, reports, and accompanying materials were also sent this day to all
Counsel of Record via electronic mail as set forth below.

Counsel for The Fresh Market, Inc.                 Counsel for Essential Ingredients, Inc.
Susan Clare, Esq.                                  Brannon J. Arnold, Esq.
W. Ray Persons, Esq.                               Thomas D. Allen, Esq.
Victoria Christine Smith, Esq.                     Joshua S. Wood, Esq.
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Counsel for MXI Environmental Services,            Counsel for Fuel Barons, Inc.
LLC                                                Shelby Leonardi, Esq.
Kenneth N. Shaw, Esq.                              Nelson Mullins Riley and Scarborough
William Francis Marion, Jr., Esq.                  PO Box 11070
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Greenville, SC 29602


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